Case 1:02-Cv-01222-.]DT Document 122 Filed 05/03/05 Page 1 of 2 Page|D 87

555/7 ,Q.’/
IN THE UNITED STATES DISTRICT COURT/,z;,~,% » .1;,.\
FOR THE WESTERN DISTRICT OF TENNESSEE‘"'-f -3 p
EASTERN DIVISION f “"’ 5.- 0
Qa;i:i>f-;>W x 5
DEMUS RICH and wife, P- ~Jz'§,/{§@§,r

MELBA RICH, individually and
as Executors of the Estate of
GARY BRIAN RICH, deceased,
Plaintiffs,
VS. NO. OZ-IZZZ-T
CITY OF SAVANNAH, TENNESSEE, et al.,

Defendants.

ORDER OF REFERENCE

Plaintiffs’ Motion to Exclude the Testirnony of Danny Franks, David Cagle, John
Overton, and Joseph Peters, M.D. is hereby referred to United States Magistrate Judge
'l`homas Anderson for disposition

IT IS SO ORDERED.

  

 

S D. TODD
ED STATES DISTRICT JUDGE

Thls document entered on the docket sheet ln com llance

with Rule 58 and,-'or_?S {a) FFICP on _.<.L_l.i.`_@_i_
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Notice of Distribution

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Honorable J ames Todd
US DISTRICT COURT

